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07/30/2021 08:09 AM CDT




                                                        - 486 -
                               Nebraska Supreme Court Advance Sheets
                                        309 Nebraska Reports
                                              PETERSON v. JACOBITZ
                                                Cite as 309 Neb. 486



                                        Austin Peterson, appellant, v.
                                         Jodi Jacobitz, now known as
                                           Jodi Ronhovde, appellee.
                                                    ___ N.W.2d ___

                                          Filed June 18, 2021.    No. S-20-097.

                 1. Judgments: Jurisdiction. A jurisdictional issue that does not involve a
                    factual dispute presents a question of law.
                 2. Juvenile Courts: Appeal and Error. An appellate court reviews juve-
                    nile cases de novo on the record and reaches its conclusions indepen-
                    dently of the juvenile court’s findings.
                 3. Statutes: Appeal and Error. To the extent an appeal calls for statutory
                    interpretation or presents questions of law, an appellate court must reach
                    an independent conclusion irrespective of the determination made by the
                    court below.
                 4. Statutes: Legislature: Intent. In construing a statute, a court must
                    determine and give effect to the purpose and intent of the Legislature
                    as ascertained from the entire language of the statute considered in its
                    plain, ordinary, and popular sense.
                 5. Statutes: Appeal and Error. The rules of statutory interpretation require
                    an appellate court to give effect to the entire language of a statute, and
                    to reconcile different provisions of the statutes so they are consistent,
                    harmonious, and sensible.
                 6. ____: ____. An appellate court gives effect to all parts of a statute and
                    avoids rejecting as superfluous or meaningless any word, clause, or
                    sentence.

                 Appeal from the County Court for Buffalo County: John P.
               Rademacher, Judge. Affirmed.
                 Vikki S. Stamm and Sarah Hammond, of Stamm Romero &amp;
               Associates, P.C., L.L.O., for appellant.
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
                     PETERSON v. JACOBITZ
                       Cite as 309 Neb. 486
   Jonathan R. Brandt and Carson K. Messersmith, Senior
Certified Law Student, of Anderson, Klein, Brewster &amp; Brandt,
for appellee.

  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.

  Heavican, C.J.
                      INTRODUCTION
   Austin Peterson (Austin) filed a “Complaint to Establish
Paternity and Objection to Proposed Adoption” in the Phelps
County Court. Concluding that it lacked “jurisdiction” because
the minor child was born in Buffalo County, the court trans-
ferred the complaint to Buffalo County Court.
   The Buffalo County Court concluded that the Phelps County
Court lacked jurisdiction to even transfer the case to Buffalo
County and dismissed for lack of jurisdiction. The Nebraska
Court of Appeals reversed, and Jodi Jacobitz, now known
as Jodi Ronhovde (Jodi), sought further review, which we
granted. We affirm the decision of the Court of Appeals.

                        BACKGROUND
    Jodi gave birth to Kooper J. in February 2013 in Kearney,
Nebraska. Prior to Kooper’s birth, Jodi and Austin had
engaged in a sexual relationship, but ceased dating before
Kooper’s birth.
    Jodi subsequently was married. Jodi joined her husband
in petitioning the Phelps County Court, seeking a stepparent
adoption. As a part of that action, Jodi’s counsel provided
Austin with notice of the proposed adoption, as Jodi had iden­
tified him as Kooper’s biological father.
    Austin responded by filing a “Complaint to Establish Pater­
nity and Objection to Proposed Adoption” on October 21,
2019, in the Phelps County Court. A hearing was held on
December 17, at which time Austin motioned for a change of
venue to Buffalo County “to comply with the jurisdictional
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            Nebraska Supreme Court Advance Sheets
                     309 Nebraska Reports
                          PETERSON v. JACOBITZ
                            Cite as 309 Neb. 486
requirement.” The Phelps County Court agreed and found
that “according to [the] Nebraska Revised Statutes the Phelps
County Court does not have jurisdiction in this matter” and
Austin’s “Motion to Transfer the case is granted.” The com-
plaint was then transferred to Buffalo County.
   Jodi filed a motion to dismiss, arguing that under Neb. Rev.
Stat. § 43-104.05 (Reissue 2016), the Phelps County Court
never had jurisdiction and thus could not have transferred the
case to Buffalo County. The Buffalo County Court agreed, stat-
ing that the “Court finds Phelps County Court lacked jurisdic-
tion to transfer matter per Neb.Rev.Stat. Section 25-410. Thus
the Buffalo County Court did not have jurisdiction.”
   Austin appealed to the Court of Appeals, which reversed,
reasoning that this case hinged on the difference between
venue and jurisdiction:
         Therefore, although [Austin] may have filed his
      “Com­plaint to Establish Paternity and Objection to
      Pro­posed Adoption” in the wrong venue, that did not
      deprive the county court for Phelps County of its exclu-
      sive original jurisdiction over adoption proceedings. See
      § 24-517(11). And because the Phelps County Court did
      have jurisdiction over this matter, it likewise had the
      authority to transfer the case to a different county court
      with proper venue. We therefore conclude the county
      court for Buffalo County erred when it found that the
      Phelps County Court’s transfer order was void for lack
      of jurisdiction. 1
   We granted Jodi’s petition for further review.
                   ASSIGNMENT OF ERROR
   In her petition for further review, Jodi assigns that the Court
of Appeals erred in finding that the Phelps County Court had
subject matter jurisdiction over Austin’s complaint and accord-
ingly could transfer the complaint to Buffalo County Court.
1
    Peterson v. Jacobitz, 29 Neb. App. 486, 493, 955 N.W.2d 329, 335 (2021).
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           Nebraska Supreme Court Advance Sheets
                    309 Nebraska Reports
                        PETERSON v. JACOBITZ
                          Cite as 309 Neb. 486
                  STANDARD OF REVIEW
   [1-3] A jurisdictional issue that does not involve a factual
dispute presents a question of law. 2 An appellate court reviews
juvenile cases de novo on the record and reaches its conclu-
sions independently of the juvenile court’s findings. 3 To the
extent an appeal calls for statutory interpretation or presents
questions of law, an appellate court must reach an indepen-
dent conclusion irrespective of the determination made by the
court below. 4

                            ANALYSIS
   This case requires us to interpret § 43-104.05 to determine
whether the Phelps County Court had jurisdiction to transfer
Austin’s action to Buffalo County.
   [4-6] In construing a statute, a court must determine and
give effect to the purpose and intent of the Legislature as
ascertained from the entire language of the statute considered
in its plain, ordinary, and popular sense. 5 The rules of statutory
interpretation require an appellate court to give effect to the
entire language of a statute, and to reconcile different provi-
sions of the statutes so they are consistent, harmonious, and
sensible. 6 An appellate court gives effect to all parts of a statute
and avoids rejecting as superfluous or meaningless any word,
clause, or sentence. 7
   Section 43-104.05 provides in full:
         (1) If a Notice of Objection to Adoption and Intent
      to Obtain Custody is timely filed with the biological
2
    In re Adoption of Micah H., 301 Neb. 437, 918 N.W.2d 834 (2018).
3
    Id.4
    Id.5
    Anderson v. A &amp; R Ag Spraying &amp; Trucking, 306 Neb. 484, 946 N.W.2d
    435 (2020).
6
    E.M. v. Nebraska Dept. of Health &amp; Human Servs., 306 Neb. 1, 944
    N.W.2d 252 (2020).
7
    Id.                         - 490 -
    Nebraska Supreme Court Advance Sheets
             309 Nebraska Reports
                 PETERSON v. JACOBITZ
                   Cite as 309 Neb. 486
father registry pursuant to section 43-104.02, either the
putative father, the mother, or her agent specifically des-
ignated in writing shall, within thirty days after the fil-
ing of such notice, file a petition for adjudication of
the notice and a determination of whether the putative
father’s consent to the proposed adoption is required. The
petition shall be filed in the county court in the county
where such child was born or, if a separate juvenile court
already has jurisdiction over the custody of the child, in
the county court of the county in which such separate
juvenile court is located.
   (2) If such a petition is not filed within thirty days after
the filing of such notice and the mother of the child has
executed a valid relinquishment and consent to the adop-
tion within sixty days of the filing of such notice, the
putative father’s consent to adoption of the child shall not
be required, he is not entitled to any further notice of the
adoption proceedings, and any alleged parental rights and
responsibilities of the putative father shall not be recog-
nized thereafter in any court.
   (3) After the timely filing of such petition, the court
shall set a trial date upon proper notice to the parties not
less than twenty nor more than thirty days after the date
of such filing. If the mother contests the putative father’s
claim of paternity, the court shall order DNA testing to
establish whether the putative father is the biological
father. The court shall assess the costs of such testing
between the parties in an equitable manner. Whether the
putative father’s consent to the adoption is required shall
be determined pursuant to section 43-104.22. The court
shall appoint a guardian ad litem to represent the best
interests of the child.
   (4)(a) The county court of the county where the child
was born or the separate juvenile court having jurisdic-
tion over the custody of the child shall have jurisdiction
over proceedings under this section from the date of
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
                      PETERSON v. JACOBITZ
                        Cite as 309 Neb. 486
      notice provided under section 43-104.12 or the last date
      of published notice under section 43-104.14, whichever
      notice is earlier, until thirty days after the conclusion
      of adoption proceedings concerning the child, including
      appeals . . . .
         (b) Except as otherwise provided in this subdivision,
      the court shall, upon the motion of any party, transfer
      the case to the district court for further proceedings on
      the matters of custody, visitation, and child support with
      respect to such child if (i) such court determines under
      section 43-104.22 that the consent of the putative father is
      required for adoption of the minor child and the putative
      father refuses such consent or (ii) the mother of the child,
      within thirty days after the conclusion of proceedings
      under this section, including appeals, has not executed
      a valid relinquishment and consent to the adoption. The
      court, upon its own motion, may retain the case for good
      cause shown.
   The Court of Appeals focused on that part of § 43-104.05(1),
which reads: “[The] petition shall be filed in the county court
in the county where such child was born . . . .” It concluded
that as a county court with exclusive jurisdiction over adoption
matters under Neb. Rev. Stat. § 24-517 (Cum. Supp. 2020), the
Phelps County Court had jurisdiction over the action but that,
per § 43-104.05(1), Phelps County was not the appropriate
venue and the case should be transferred to the county court for
the county of the child’s birth, in this instance, Buffalo County.
The Court of Appeals accordingly concluded that the Buffalo
County Court erred in dismissing the complaint. The Court of
Appeals does not address the impact of § 43-104.05(4)(a) on
its reading of § 43-104.05(1).
   In her petition for further review, Jodi focuses on that part
of § 43-104.05(4)(a) providing that “[t]he county court of
the county where the child was born or the separate juvenile
court having jurisdiction over the custody of the child shall
have jurisdiction over proceedings under this section . . . .”
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          Nebraska Supreme Court Advance Sheets
                   309 Nebraska Reports
                      PETERSON v. JACOBITZ
                        Cite as 309 Neb. 486
Jodi argues that it is this language that provides for jurisdic-
tion and that it clearly places sole jurisdiction with the county
court located in the county of the child’s birth. She argues that
the Court of Appeals’ decision wrongly reads the word “juris-
diction” in § 43-104.05(4)(a) to mean “venue.”
   We recognize the tension between subsections (1) and
(4)(a) of § 43-104.05. But we conclude that the purpose of
§ 43-104.05(4)(a) is not to vest jurisdiction with a particular
court—that power is conferred by § 24-517, which states that
“[e]ach county court shall have the following jurisdiction:
. . . (11) Exclusive original jurisdiction in matters of adop-
tion, except if a separate juvenile court already has jurisdiction
over the child to be adopted, concurrent original jurisdiction
with the separate juvenile court.” Rather, § 43-104.05(4)(a)
describes when and for how long a court having jurisdiction
should exercise that jurisdiction. We reach this conclusion
by noting that we must give effect to the entire language of
a statute and reconcile such so that our results are consistent,
harmonious, and sensible. With that in mind, we turn to the
language of § 43-104.05.
   Subsection (1) of § 43-104.05 provides that the complaint
should be filed in the county court for the county where the
child was born. For the reasons expressed by the Court of
Appeals, we agree that this is venue language and that the
jurisdiction of a county court over adoption matters is con-
ferred by § 24-517. Thus, § 43-104.05(1) is all about how to
commence an action.
   Subsection (2) of § 43-104.05 details what happens if the
petition in subsection (1) is not filed or such a filing is
not timely—in such cases, a putative father’s consent is not
required and his rights “shall not be recognized thereafter in
any court.” Conversely, subsection (3) of § 43-104.05 details
what to do once a petition is timely filed, specifically detail-
ing the trial a putative father is entitled to so that the court can
determine whether his consent to an adoption is required.
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
                     PETERSON v. JACOBITZ
                       Cite as 309 Neb. 486
   Subsection (4) of § 43-104.05, though, is about timing and
about how long the court in question should exercise authority
over these proceedings—30 days after the conclusion of adop-
tion proceedings. In sum, as noted above, subsection (4)(a) of
§ 43-104.05 does not confer jurisdiction; rather, it sets forth
for what length of time a court’s authority should be exercised.
To read it in the terms proposed by Jodi would be inconsist­
ent with, as well as superfluous to, the jurisdictional grant in
§ 24-517 and the venue language of § 43-104.05(1).
   The Court of Appeals concluded that the Phelps County
Court had jurisdiction to transfer Austin’s complaint to Buffalo
County because the challenged language in § 43-104.05(1)
dealt with venue and not jurisdiction. This court holds that the
language of § 43-104.05(4)(a) did not confer jurisdiction, but
instead set forth the length of time for which the court should
exercise its authority. There was no error in the Court of
Appeals’ decision reversing the dismissal of Austin’s complaint
by the Buffalo County Court.

                          CONCLUSION
  The decision of the Court of Appeals, reversing the county
court’s dismissal, is affirmed.
                                                 Affirmed.
